30 Meadow Road

Scarsdale, NY 10583

Magistrate Judge Ramon E. Reyes, Jr.
United States Magistrate Judge

225 Cadman Plaza East

Brooklyn, New York 11201 Ss
Re: Gavriel Bidany rs
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Dear Magistrate Reyes: or
oo

1 would ask your honor to show Rabbi Bidany leniency at the time of sentencing. 1 have no knowledge
regarding the events or trial that led to his recent conviction. What | do know is that the Rabbi is a very
special man who took the time and attention to help me through one of the most difficult periods in my
life.

Jam a member of the Young Israel of Scarsdale synagogue in Scarsdale, NY. Periodically, the Rabbi visits
our community as well as neighboring communities. During his visits, he is extremely busy meeting with
and helping people in need. On short notice, | requested that Rabbi Bidani meet with me to discuss a
very painful personal situation where I was devastated because a woman | was dating ended our
relationship, citing health reasons. His kind and insightful perspective and advice made an enormous
contribution to my emotional recovery from an extremely painful situation. He gave me more time than
I was scheduled to use and listened so carefully to my story. Before and after my meeting with him, |
saw others coming and going from his meeting place whose faces showed that they had similarly
significant issues to discuss with the Rabbi. All seemed to come away much comforted by his wise

advice.

1 am eternally thankful for the iove and support the Rabbi has shown me. He gives so much of his time
to others that it pains me to think of being separated from his wife and 11 children beyond what his
work requires. it also pains me to think of those who will not be able to consult with the Rabbi if he is
required to spend time in prison.

“ew Case 1:11-cr-00259-ARR Document 30-2 Filed 05/12/11 Page 2 of 8 PagelD #: 114

{ask that you think very carefully before imposing a prison sentence in this particular case. Rabbi Bidany
has so much more to contribute to the world.

Thank you for your consideration of these thoughts.

Sincerely,

Richard 8. Stanger

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Case 1:11-cr-00259-ARR Document 30-2 Filed 05/12/11 Page 5of8 PagelD#:117 ~~

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Page 8 of 8 PagelD #: 120°

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